                                                                                                           FILED




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF WYOMING                                               3:28 pm, 1/8/25
                                                                                                U.S. Magistrate Judge



    JORNS & ASSOCIATES LLC,

                  Plaintiff,
         vs.                                                      Case No. 2:23-cv-247-KHR

    WCMS MEDIA LLC and JESS E.
    ROGERS, SR.,

                  Defendants.

          ORDER GRANTING JOINT MOTION FOR EXTENSION OF
    PLAINTIFF/COUNTERCLAIMANT’S EXPERT DESIGNATION DEADLINE

        This matter comes before the Court on the Parties’ Joint Motion for Extension of

Plaintiff/Counter Claimant’s Expert Designation Deadline (the “Motion”). ECF No. 54.

Upon consideration of the Motion, the record, and otherwise being fully informed, the

Court finds that good cause exists to GRANT the requested extension. Accordingly,

        IT IS HEREBY ORDERED that Plaintiff’s and the Counterclaimants’ expert

designations shall be submitted on or before January 15, 2025. 1


        Dated this 8th day of January, 2025.




                                           Scott P. Klosterman
                                           United States Magistrate Judge

1
  Counsel is reminded that U.S.D.C.L.R. 7.1(b)(E) requires moving parties to submit a proposed order for all non-
dispositive motions. These proposed orders should be filed with the motion and emailed to the judge’s chambers’
email in .Word format.
